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                          UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10                            WESTERN DIVISION

 11
      Edwardo Munoz, individually and on
 12   behalf of all others similarly situated,
                                                 Case No. 2:18-cv-03893-RGK-AGR
 13                             Plaintiff,
 14         v.
                                                  [PROPOSED] ORDER
 15   7-Eleven, Inc., a Texas corporation,        GRANTING JOINT
 16                                               STIPULATION TO CONTINUE
                                  Defendant.      HEARING RE: MOTION FOR
 17                                               CLASS CERTIFICATION
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                                                  Complaint Filed: May 15, 2018
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  1         Pursuant to the parties’ August 16, 2018 Joint Stipulation to Continue
  2   Hearing on Plaintiff’s Motion for Class Certification, and good cause appearing, it
  3   is hereby Ordered:
  4                 1.       That the hearings on Plaintiff’s Motion for Class Certification is
  5   vacated and reset to October 15, 2018 at 9:00 a.m.
  6   IT IS SO ORDERED.
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      Dated: ______________, 2018
                                                          Hon. R. Gary Klausner
 10                                                       United States District Judge
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            [Proposed] Order Granting Joint Stipulation to Continue Hearing Re Motion for Class Certification
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